                   Case 5:17-cv-00825-GTS-DEP Document 19 Filed 01/03/18 Page 1 of 1




                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF'' NEW YORK

    CHAzu,ES VALENTINE and                                    )
    BERTHA HOLLOWAY,                                          )
                                                              )        STIPULATION OF'
                                         Plaintifß,           )        DISCONTINUANCE
                                                              )
    -against-                                                 )        Civil Action No.: 5:17-CV-00825
                                                              )                  (cTS/DEP)
    ALLSTATE INDEMNITY COMPANY,                               )
    ALLSTATE VEHICLE AND                                      )
    PROPERTY INSURANCE COMPANY,                               )
    And ALLSTATE INSURANCE COMPANY                            )
                                                              )
                                         Defendants.          )

                   IT IS HEREBY     STIPULATED AND AGREED, by and between the undersigned, the
    attorneys of record      for all the parties to the above entitled action, that whereas no party hereto is an
    infant, incompetent person for whom a committee has been appointed or conservatee and no person not
    a party has an interest     in the subject matter of the action, the above entitled action be, and the      same
hereby is discontinued for all claims, counterclaims,             with prejudice, and without   costs to any party as
against the other. This stipulation may be filed without further notice with the clerk of the Court.

                         -e                                              -7
Dated: January          2 ,,ZOtt                       Dated: January    2    ,ZOlrB




                     1V. Shannon, Esq.                 By:
LYNN LÂ\ry FIRM, LLP                                   SMITH, SOVIK, KENDRICK & SUGNET, p.C.
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Syracuse, New York 13202

                                                       IT IS SO ORDERED



                                                       Hon, Glenn T. Suddaby
                                                       Chief U.S. District Judge
Dated: January          _,     2018




(   s0690r70 I )
